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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



                                                )
KATHLEEN BREEN, et al.,                         )
Plaintiffs,                                     )
                                                )
v.                                              )
                                                ) Civil Action No. 05-cv-654 (PLF)
PETER BUTTIGIEG, SECRETARY OF                   )
TRANSPORTATION, DEPARTMENT OF                   )
TRANSPORTATION, et al.,                         )
                                                )
Defendants.                                     )
                                                )


                                 JOINT STATUS REPORT

      Having been authorized by the principals to agree upon terms for the settlement of this

action, undersigned counsel represent to the Court that a settlement has been reached in this

action. Counsel are in the process of securing execution of the settlement agreement and will

shortly begin implementation of the settlement. Counsel expect to be in a position by no later

than April 28, 2021 to file the settlement agreement and address the process for concluding the

proceedings before this Court.



Dated: April 8, 2021                         Respectfully submitted,

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